Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 1 of 56 Page ID #:6




                   EXHIBIT A
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 2 of 56 Page ID #:7
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 3 of 56 Page ID #:8
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 4 of 56 Page ID #:9
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 5 of 56 Page ID #:10
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 6 of 56 Page ID #:11
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 7 of 56 Page ID #:12
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 8 of 56 Page ID #:13
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 9 of 56 Page ID #:14
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 10 of 56 Page ID #:15
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 11 of 56 Page ID #:16
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 12 of 56 Page ID #:17
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 13 of 56 Page ID #:18
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 14 of 56 Page ID #:19
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 15 of 56 Page ID #:20
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 16 of 56 Page ID #:21
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 17 of 56 Page ID #:22
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 18 of 56 Page ID #:23
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 19 of 56 Page ID #:24
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 20 of 56 Page ID #:25
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 21 of 56 Page ID #:26
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 22 of 56 Page ID #:27
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 23 of 56 Page ID #:28
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 24 of 56 Page ID #:29
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 25 of 56 Page ID #:30
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 26 of 56 Page ID #:31
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 27 of 56 Page ID #:32
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 28 of 56 Page ID #:33
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 29 of 56 Page ID #:34
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 30 of 56 Page ID #:35
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 31 of 56 Page ID #:36
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 32 of 56 Page ID #:37
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 33 of 56 Page ID #:38
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 34 of 56 Page ID #:39
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 35 of 56 Page ID #:40
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 36 of 56 Page ID #:41
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 37 of 56 Page ID #:42
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 38 of 56 Page ID #:43
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 39 of 56 Page ID #:44
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 40 of 56 Page ID #:45
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 41 of 56 Page ID #:46
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 42 of 56 Page ID #:47
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 43 of 56 Page ID #:48
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 44 of 56 Page ID #:49
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 45 of 56 Page ID #:50
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 46 of 56 Page ID #:51
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 47 of 56 Page ID #:52
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 48 of 56 Page ID #:53
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 49 of 56 Page ID #:54
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 50 of 56 Page ID #:55
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 51 of 56 Page ID #:56
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 52 of 56 Page ID #:57
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 53 of 56 Page ID #:58
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 54 of 56 Page ID #:59
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 55 of 56 Page ID #:60
Case 2:15-cv-09667-RGK-AFM Document 1-1 Filed 12/16/15 Page 56 of 56 Page ID #:61
